       Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

UMG RECORDINGS, INC.,                        § No. 1:17-CV-365-DAE
CAPITOL RECORDS, LLC,                        §
WARNER BROS. RECORDS, INC.,                  §
SONY MUSIC ENTERTAINMENT,                    §
ARISTA RECORDS, LLC, ARISTA                  §
MUSIC, ATLANTIC RECORDING                    §
CORPORATION, CAPITOL                         §
CHRISTIAN MUSIC GROUP, INC.,                 §
ELECKTRA ENTERTAINMENT                       §
GROUP, INC., FONOVISA, INC.,                 §
FUELED BY RAMEN, LLC, LAFACE                 §
RECORDS, LLC, NONESUCH                       §
RECORDS, INC., RHINO                         §
ENTERTAINMENT COMPANY,                       §
ROADRUNNER RECORDS, INC.,                    §
ROC-A FELLA RECORDS, LLC,                    §
TOOTH & NAIL, LLC, and ZOMBA                 §
RECORDING, LLC,                              §
                                             §
      Plaintiffs,                            §
                                             §
vs.                                          §
                                             §
GRANDE COMMUNICATIONS                        §
NETWORKS, LLC,                               §
                                             §
      Defendant.                             §

  ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

             Before the Court is a motion for partial reconsideration filed by

Defendant Grande Communications Networks, LLC (“Defendant” or “Grande”) on

May 6, 2020. (Dkt. # 348.) Defendant takes issue with some of this Court’s

                                         1
        Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 2 of 9




decisions in its Order regarding the twenty-one (21) motions in limine filed by the

parties on February 4, 2020 (Dkts. ## 308–328). (Dkt. # 347.) With this Court’s

leave, Plaintiffs filed a response on May 20, 2020 (Dkt. # 356) to which Defendant

replied on May 27, 2020 (Dkt. # 357). Pursuant to Local Rule CV 7(h), the Court

finds this matter suitable for disposition without a hearing.

                                  BACKGROUND

             Plaintiffs are record companies that produce commercial sound

recordings and distribute them throughout the United States. (Dkt. # 1 at 2.)

Remaining Defendant Grande is an internet service provider (“ISP”), providing

internet access to customers in Texas. (Id.) Former Defendant Patriot Media

Consulting, LLC (“Patriot”) provided and continues to provide various

management services to Grande. (Id. at 6.) Plaintiffs originally filed suit against

both Grande and Patriot. (Id. at 1.) Plaintiffs assert that Defendants received over

one million notices of direct copyright infringement allegedly committed by

Grande’s customers. (Id. at 2, 11–12.) Plaintiffs also allege that these customers

directly infringed on Plaintiffs’ copyrights through the use of various of file sharing

applications, including BitTorrent. (Id. at 2, 8–12.) Plaintiffs’ complaint contains

claims for secondary copyright infringement under 17 U.S.C. § 101 et seq. against

both defendants, alleging Defendants continued to provide infringing customers

with internet access after receiving the notices of infringement. (Id. at 13, 15, 17.)

                                          2
        Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 3 of 9




             On April 19, 2017, Defendants filed separate motions to dismiss under

Federal Rule of Civil Procedure 12(b)(6). (Dkts. ## 28, 29.) On March 26, 2018,

the Court adopted a Report and Recommendation from Magistrate Judge Austin

recommending Patriot’s motion be granted in its entirety and Grande’s motion be

granted as to Plaintiffs’ claims for vicarious secondary infringement. (Dkts. ## 72

at 21; 77 at 3.) Patriot was thus dismissed as a defendant from this action. (See

id.) Therefore, the only remaining claim in this case is for contributory secondary

copyright infringement against Grande.

             On April 9, 2018, Grande filed their answer to the complaint. (Dkt.

# 80.) Among other affirmative defenses, Grande pled the safe harbor provision of

the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(i). Section

512(i) protects ISPs like Grande from liability for the copyright infringement of

their customers if the ISP “has adopted and reasonably implemented, and informs

subscribers and account holders of the service provider’s system or network of, a

policy that provides for the termination in appropriate circumstances of subscribers

and account holders of the service provider’s system or network who are repeat

infringers[.]” Id.

             On August 8, 2018, Plaintiffs filed a motion for summary judgment as

to Grande’s affirmative defense of the DMCA safe harbor provision. (Dkt. # 127.)

On December 18, 2018, Magistrate Judge Austin issued a Report and

                                         3
        Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 4 of 9




Recommendation (the “Safe Harbor Report”) recommending Plaintiffs’ motion be

granted as to the safe harbor issue.1 (Dkt. # 241.) On January 23, 2019, Grande

filed written objections, and Plaintiffs filed a response to Grande’s objections.

             Additionally, on August 18, 2018, Grande filed a motion for summary

judgment as to the issues of liability and damages. (Dkt. # 140.) On September

11, 2018, Plaintiffs responded to the motion and cross moved for summary

judgment as to liability. (Dkt. # 172.) On December 18, 2018, Magistrate Judge

Austin issued a Report and Recommendation (the “Liability Report”)

recommending Grande’s motion for summary judgment be granted as to Grande’s

alleged liability for infringing Plaintiffs’ reproduction rights under 17 U.S.C. §

106(1) and public performance rights under 17 U.S.C. § 106(6). (Dkt. # 240.) The

Liability Report also recommended denying Grande’s motion in all other respects

and denying Plaintiffs’ motion for summary judgment in its entirety. (Id.) Both

Plaintiffs and Grande filed objections on January 9, 2019. (Dkts. ## 250, 252.)

Plaintiffs filed a response to Grande’s objections on January 23, 2019, and Grande

filed a response that same day. (Dkts. ## 257, 258.) On January 30, 2019,

Plaintiffs filed a reply in support of their objections. (Dkt. # 259.)



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  On September 17, 2018, by order of the Court, the case was referred to
Magistrate Judge Austin. (Dkt. # 183.) And on October 30, 2018, the case was
reassigned to this Court by the Honorable Lee Yeakel. (Dkt. # 212.)

                                           4
       Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 5 of 9




             On March 15, 2019, this Court adopted the Safe Harbor Report and

granted Plaintiffs’ Motion for Partial Summary Judgment as to the issue of

Grande’s entitlement to the affirmative defense of the DMCA safe harbor

provisions, 17 U.S.C. § 512(i). (Dkt. # 268.) This Court also adopted the Liability

Report, granting Grande’s Motion for Summary Judgment as to infringement of the

rights of reproduction and public performance and denying the motion in all other

respects as well as denying Grande’s Motion for Sanctions. (Id.)

             The case was originally set for trial to begin on February 24, 2020

(Dkt. # 275), but trial was continued to September 2020 (Dkt. # 345). The parties

filed twenty-one (21) motions in limine on February 4, 2020, five of which filed by

Plaintiffs (Dkts. ## 313–317), and sixteen filed by Defendant. (Dkts. ## 308–312,

318–328.) Plaintiffs filed a consolidated response (Dkt. # 335) and Defendant filed

its responses. (Dkts. ## 336–340.)

             The Court issued its order on these motions in limine on April 8, 2020

(Dkt. # 347), and Defendant filed its motion for reconsideration on May 6, 2020

(Dkt. # 348). Plaintiffs were granted an extension to file a response (Dkt. # 350),

and Plaintiffs did so on May 20, 2020 (Dkt. # 356). Defendant replied on May 27,

2020 (Dkt. # 357).




                                          5
        Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 6 of 9




                                LEGAL STANDARD

             “The grant or denial of a motion in limine is considered discretionary,

and thus will be reversed only for an abuse of discretion and a showing of

prejudice.” Hesling v. CSX Transp., Inc., 396 F.3d 632, 643 (5th Cir. 2005)

(citation omitted). Thus, this Court may use its discretion to exclude irrelevant

evidence or relevant evidence whose “probative value is substantially outweighed

by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” See Fed. R. Evid. 403. The Fifth Circuit has expressly

noted that “even if we find an abuse of discretion in the admission or exclusion of

evidence, we review the error under the harmless error doctrine” and the appeal

court shall “affirm evidentiary rulings unless they affect a substantial right of the

complaining party.” United States v. Skipper, 74 F.3d 608, 612 (5th Cir. 1996).

             The Federal Rules of Civil Procedure do not recognize a “motion for

reconsideration.” See Shepherd v. Int’l Paper Co., 372 F.3d 326, 328 n.1 (5th Cir.

2004); Skyeward Bound Ranch v. City of San Antonio, No. SA-10-CV-0316 XR,

2011 WL 2619104, at *1 (W.D. Tex. June 30, 2011) (same). However, while this

Court has authority to reconsider and reverse its decision for any reason it deems

sufficient, courts in this Circuit have consistently utilized the standards of Rule

59(e) to inform its analysis of a reconsideration request. See Skyeward Bound

                                           6
       Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 7 of 9




Ranch, 2011 WL 2619104, at *1 (citing numerous district court decisions in this

Circuit). Rule 59(e) “serve[s] the narrow purpose of allowing a party to correct

manifest errors of law or fact or to present newly discovered evidence.” Waltman v.

Int’l Paper Co., 875 F.2d 468, 473 (5th Cir. 1989) (internal quotations omitted).

Reconsideration “is an extraordinary remedy that should be used sparingly.”

Templet v. HydroChem, Inc., 367 F.3d 473, 479 (5th Cir. 2004).

                                    DISCUSSION

      1.     Defendant’s Motion to Exclude Testimony of Terrence McGarty

             On April 8, 2020, the Court denied Defendant’s Motion to Exclude

Testimony of Terrence McGarty. (Dkt. # 347.) The Court was persuaded by

Plaintiffs that Dr. McGarty’s testimony is not “moot” but is “relevant to central

questions in the case: Grande’s knowledge of, or willful blindness to, its

subscribers’ infringement, and the willfulness of Grande’s conduct.” (Dkt. # 335.)

The Court expressly stated that “Dr. McGarty shall be permitted to testify on the

specific subject matter as expressed by Plaintiffs in their response to Grande’s

motion.” (Dkt. # 347.)

             In their current filing, Plaintiffs represent to the Court that Dr.

McGarty’s testimony will not solely be about Grande’s “invocation of the DMCA

safe harbor defense” but shall also “testify that Grande had the technical, financial,

and operational ability to process infringement notices, identifying infringing

                                           7
        Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 8 of 9




subscribers, and take action against them.” (Dkt. # 356.) Defendant asserts that

Dr. McGarty’s testimony is not relevant to any issue at trial because Magistrate

Judge Austin “correctly determined that Grande’s Daubert motion was moot,

because the Court granted summary judgment on Grande’s safe harbor defense.”

(Dkt. # 357.)

             Given the Court’s previous ruling permitting Dr. McGarty’s testimony

beyond the DMCA safe harbor, Magistrate Judge Austin’s conclusion that Dr.

McGarty’s testimony is “moot” no longer stands. This Court shall thus RE-

REFER the challenge to Dr. McGarty’s testimony back to Judge Austin to look at

the merits of the Daubert issue based on the papers already filed. Defendant’s

motion is thus DENIED, but it may be re-raised if Magistrate Judge Austin finds

that Dr. McGarty’s testimony is inadmissible.

      2.      Defendant’s Motion to Exclude Evidence Regarding the DMCA and
      Plaintiffs’ Motion to Permit Evidence or Argument Related to Grande’s Inel-
      igibility to the DMCA Safe Harbor Defense

             The Court finds Defendant’s motion for reconsideration as to these

two motions in limine regarding the DMCA unpersuasive. Plaintiffs have

represented to this Court that they do not intend to argue at trial that Grande is

liable because it failed to qualify for a DMCA safe harbor. (Dkt. # 356.)

Furthermore, the Court already noted explicitly that “the Court shall allow

Defendant to re-raise its objection at trial if Plaintiffs appear to be re-litigating the

                                            8
       Case 1:17-cv-00365-DAE Document 358 Filed 06/03/20 Page 9 of 9




issue and either misleading or confusing the jury.” (Dkt. # 347). 2 The Court thus

denies the motion for reconsideration as to these two motions in limine.

                                  CONCLUSION

             The Court DENIES Defendant’s motion for reconsideration. The

Court shall RE-REFER to Magistrate Judge Austin Defendant’s Daubert challenge

to Dr. McGarty based on the papers already filed in this matter. The hearing set on

June 17, 2020, is hereby CANCELLED.

             IT IS SO ORDERED.

             DATED: Austin, Texas, June 3, 2020.




                                              David Alan Ezra
                                              Senior United States District Judge




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  Defendant now asks “[a]t a bare minimum, the Court should leave for trial the
question of whether and to what extent Plaintiffs may introduce such evidence.”
(Dkt. # 357.) The Court shall, as it noted explicitly in its order, allow Defendant to
re-raise the issue at trial if necessary.

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